Case 2:17-cv-07083-RGK-MRW Document 408 Filed 10/29/18 Page 1 of 7 Page ID #:20367



  1 Christopher S. Marchese (170239)           Vincent J. Belusko (CA SBN 100282)
    marchese@fr.com                            VBelusko@mofo.com
  2
    FISH & RICHARDSON P.C.                     Hector G. Gallegos (CA SBN 175137)
  3 633 West Fifth Street, 26th Floor          HGallegos@mofo.com
  4 Los Angeles, CA 90071                      Jonathan M. Smith (CA SBN 292285)
    Tel: (213) 533-4240, Fax: (877) 417-2378   JonathanSmith@mofo.com
  5 Frank Scherkenbach (SBN 142549)            MORRISON & FOERSTER LLP
  6 scherkenbach@fr.com                        707 Wilshire Boulevard
    Kurt L. Glitzenstein (Pro Hac Vice)        Los Angeles, California 90017
  7 glitzenstein@fr.com                        Tel: (213) 892-5200
  8 FISH & RICHARDSON P.C.                     Fax: (213) 892-5454
    One Marina Park Drive
  9 Boston, MA 02210-1878                      Jack W. Londen (CA SBN 85776)
 10 Tel: (617) 542-5070; Fax: (617) 542-8906   JLonden@mofo.com
                                               Diana B. Kruze (CA SBN 247605)
 11 Olga I. May (232012)                       DKruze@mofo.com
 12 omay@fr.com                                Shaelyn K. Dawson (CA SBN 288278)
    Markus D. Weyde (SBN 285956)               Shaelyndawson@mofo.com
 13 weyde@fr.com                               MORRISON & FOERSTER LLP
 14 FISH & RICHARDSON P.C.                     425 Market Street
    12390 El Camino Real                       San Francisco, California 94105
 15 San Diego, California 92130                Tel: (415) 268-7000
 16 Tel: (858) 678-4745; Fax: (858) 678-5099   Fax: (415) 268-7522
    [Additional Counsel listed on last page.]
 17 Attorneys for Plaintiffs, CARL ZEISS AG Attorneys for Defendants
 18 and ASML NETHERLANDS B.V.                   NIKON CORPORATION and NIKON
                                                INC.
 19
 20                     IN THE UNITED STATES DISTRICT COURT
         FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 21
     CARL ZEISS AG and ASML                   Case No. 2:17-cv-07083-RGK (MRWx)
 22 NETHERLANDS B.V.,
 23                                           JOINT EX PARTE APPLICATION
                Plaintiffs,                   FOR AN ORDER CLARIFYING
 24 v.                                        TRIAL TIME
 25
     NIKON CORPORATION and NIKON Trial Date: November 6, 2018
 26 INC.,                                     Judge:      Hon. R. Gary Klausner
 27             Defendants.                   Courtroom: 850, 8th Floor
 28
                                 JOINT EX PARTE APPLICATION RE TRIAL TIME
                                             Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 408 Filed 10/29/18 Page 2 of 7 Page ID #:20368



  1   TO THE HONORABLE R. GARY KLAUSNER:
  2         Pursuant to Rule 7(b) of the Federal Rules of Civil Procedure and Local Rule
  3   7-19, Plaintiffs Carl Zeiss AG (“Zeiss”) and ASML Netherlands B.V. (“ASML”)
  4   (collectively, “Plaintiffs”) and Defendants Nikon Corporation and Nikon, Inc.
  5   (collectively, “Nikon”), respectfully submit this joint ex parte application to obtain
  6   clarification of the total trial time the parties will be permitted in the upcoming trial.
  7         On the first day in the recently held 3221 trial, the Court allowed the parties
  8   an additional two hours per side (for a total of eight hours per side in a case
  9   involving two patents). The additional two hours was greatly appreciated by both
 10   parties. At the pretrial conference held on October 22, 2018, the Court indicated it
 11   may again be amenable to providing more than the currently allotted 10 hours per
 12   side. The parties have been further preparing their respective cases since receiving
 13   the court’s guidance on time limits at the pretrial conference, and both sides are of
 14   the view that the presentation of the issues will be clearer and more cogent if each
 15   side is permitted an additional two hours to present its case to the jury. As the Court
 16   knows, this case includes five patents and will include testimony from many
 17   international witnesses. Both parties would likewise appreciate having certainty of
 18   the exact trial time for planning purposes, including witness travel schedules.
 19         Therefore, the parties respectfully request a ruling prior to the start of trial as
 20   to whether the Court will increase the trial time an additional two hours to twelve
 21   hours of trial time per side.
 22
 23
 24
 25
 26
 27
 28
                                               1
                                      JOINT EX PARTE APPLICATION RE TRIAL TIME
                                                 Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 408 Filed 10/29/18 Page 3 of 7 Page ID #:20369



  1   Dated: October 29, 2018    FISH & RICHARDSON P.C.
  2
                                 By: /s/ Christopher S. Marchese
  3                                  Christopher S. Marchese (SBN 170239)
  4                                  marchese@fr.com
                                     FISH & RICHARDSON P.C.
  5
                                     633 West Fifth Street, 26th Floor
  6                                  Los Angeles, CA 90071
  7                                  Tel: (213) 533-4240, Fax: (858) 678-5099

  8                                  Frank Scherkenbach (SBN 142549)
  9                                  scherkenbach@fr.com
                                     Kurt L. Glitzenstein (Admitted Pro Hac Vice)
 10
                                     glitzenstein@fr.com
 11                                  Proshanto Mukherji (Admitted Pro Hac Vice)
 12                                  mukherji@fr.com
                                     Jeffrey Shneidman (Admitted Pro Hac Vice)
 13                                  shneidman@fr.com
 14                                  Elizabeth G.H. Ranks (Admitted Pro Hac Vice),
                                     ranks@fr.com
 15                                  FISH & RICHARDSON P.C.
 16                                  One Marina Park Drive
                                     Boston, MA 02210-1878
 17
                                     Tel: (617) 542-5070, Fax: (617) 542-8906
 18
 19                                  Olga I. May (SBN 232012)
                                     omay@fr.com
 20                                  Markus D. Weyde (SBN 285956)
 21                                  weyde@fr.com
                                     K. Nicole Williams (SBN 291900)
 22                                  nwilliams@fr.com
 23                                  Jared A. Smith (SBN 306576)
                                     jasmith@fr.com
 24                                  Oliver J. Richards (SBN 310972)
 25                                  orichards@fr.com
                                     FISH & RICHARDSON P.C.
 26
                                     12390 El Camino Real
 27                                  San Diego, CA 92130
                                     Tel: (858) 678-5070, Fax: (858) 678-5099
 28
                                          1
                                 JOINT EX PARTE APPLICATION RE TRIAL TIME
                                            Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 408 Filed 10/29/18 Page 4 of 7 Page ID #:20370



  1
  2
  3                                 Jennifer Huang (Admitted Pro Hac Vice)
  4                                 jhuang@fr.com
                                    FISH & RICHARDSON P.C.
  5                                 60 South Sixth Street, Suite 3200
  6                                 Minneapolis, MN 55402
                                    Tel: (612) 335-5070, Fax: (612) 288-9696
  7
  8                                 Andrew R. Kopsidas (Admitted Pro Hac Vice)
                                    kopsidas@fr.com
  9                                 FISH & RICHARDSON P.C.
 10                                 1000 Maine Avenue, S.W., Ste. 1000
                                    Washington, DC 20024
 11                                 Tel: (202) 783-5070, Fax: (202) 783-2331
 12
                                    Attorneys for Plaintiffs, CARL ZEISS AG and
 13                                 ASML NETHERLANDS B.V.
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                         2
                                JOINT EX PARTE APPLICATION RE TRIAL TIME
                                            Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 408 Filed 10/29/18 Page 5 of 7 Page ID #:20371



  1   Dated: October 29, 2018              MORRISON & FOERSTER LLP
  2
                                  By: /s/ Vincent J. Belusko
  3
  4                                    Vincent J. Belusko (CA SBN 100282)
                                       VBelusko@mofo.com
  5                                    Hector G. Gallegos (CA SBN 175137)
  6                                    HGallegos@mofo.com
                                       Jonathan M. Smith (CA SBN 292285)
  7                                    JonathanSmith@mofo.com
  8                                    MORRISON & FOERSTER LLP
                                       707 Wilshire Boulevard
  9                                    Los Angeles, California 90017
 10                                    Tel: (213) 892-5200
                                       Fax: (213) 892-5454
 11
 12                                    Jack W. Londen (CA SBN 85776)
                                       JLonden@mofo.com
 13                                    Diana B. Kruze (CA SBN 247605)
 14                                    DKruze@mofo.com
                                       Shaelyn K. Dawson (CA SBN 288278)
 15                                    Shaelyndawson@mofo.com
 16                                    MORRISON & FOERSTER LLP
                                       425 Market Street
 17                                    San Francisco, California 94105
 18                                    Tel: (415) 268-7000
                                       Fax: (415) 268-7522
 19
 20                                    Attorneys for Defendants
                                       NIKON CORPORATION and NIKON INC.
 21
 22
 23
 24
 25
 26
 27
 28
                                          1
                                 JOINT EX PARTE APPLICATION RE TRIAL TIME
                                            Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 408 Filed 10/29/18 Page 6 of 7 Page ID #:20372



  1                                 ECF ATTESTATION
  2
            I, Christopher S. Marchese, am the ECF User who identification and password
  3
      are being used to electronically file this Joint Ex Parte Application for an Order
  4
      Clarifying Trial Time. In accordance with Local Rule 5-4.3.4, concurrence in and
  5
      authorization of the filing of this document has been obtained from the counsel for
  6
      defendants, and Fish & Richardson P.C. shall maintain records to support this
  7
      concurrence for subsequent production for the Court if so ordered or for inspection
  8
      upon request by a party.
  9
      Dated: October 29, 2018                 FISH & RICHARDSON P.C.
 10
 11                                           By: /s/ Christopher S. Marchese
 12                                               Christopher S. Marchese

 13                                           Attorneys for Plaintiffs
 14                                           CARL ZEISS AG AND ASML
                                              NETHERLANDS B.V.
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                             1
                                    JOINT EX PARTE APPLICATION RE TRIAL TIME
                                               Case No. 2:17-cv-07083-RGK (MRWx)
Case 2:17-cv-07083-RGK-MRW Document 408 Filed 10/29/18 Page 7 of 7 Page ID #:20373



  1
  2                             CERTIFICATE OF SERVICE
  3         The undersigned hereby certifies that a true and correct copy of the above and
  4   foregoing document has been served on October 29, 2018, to all counsel of record
  5   who are deemed to have consented to electronic service via the Court’s CM/ECF
  6   system per Civil Local Rule 5.4. Any other counsel of record will be served by
  7   electronic mail, facsimile and/or overnight delivery.
  8
  9                                          /s/ Christopher S. Marchese
                                             Christopher S. Marchese
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                              1
                                     JOINT EX PARTE APPLICATION RE TRIAL TIME
                                                Case No. 2:17-cv-07083-RGK (MRWx)
